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AO 91(Rev.11/11) Criminal Complaint (approved by   AUSAOsirim~
                                    UNITED STATES DISTRICT COURT
                                                                   for the
                                                    Eastern District of Pennsylvania

                  United States of America                            )
                               v.                                     )
                                                                      )      Case No. 16 _084

                                                                                                   !~- t2S 1-'1
                      MARQUISE BELL                                   )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                September 30, 2016                 in the county of             Philadelphia      in the
     Eastern          District of ___P_e_n_n~sy~l_va_n_i_a__ , the defendant(s) violated:

            Code Section                                                        Offense Description
 18 U.S.C. 922(g)                                  Possession of ammunition by a convicted felon




         This criminal complaint is based on these facts:
 See attached Affidavit




         0 Continued on the attached sheet.


                                                                                                Complainant's signature

                                                                                        FBI Special Agent David E. Carter
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:    { /   6.U { 1lt

City and state:                 Philadelphia, Pennsylvania                    Honorable-Elizabeth T. Hey, Unit d States Magistrate
                                                                                                Printed name and title
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                       AFFIDAVIT IN SUPPORT OF ARREST WARRANT


         I, David E. Carter, Federal Bureau of Investigation (FBI), being duly sworn, do state the

 following:


                                       INTRODUCTION



         I am employed as a Special Agent with the Federal Bureau of Investigation (FBI), and

 have been so employed since January 2005. Prior to my employment with the FBI, I was a

 Detective Trooper First Class with the Maryland State Police for approximately five years. I am

 currently assigned to the FBI Violent Crimes Fugitive Task Force (VCFTF) of the Philadelphia

 office, which investigates violations of Federal law to include robberies of banks, kidnapping,

 fugitives, murder for hire, robberies of businesses that affect interstate commerce, also known

 as Hobbs Act robberies, and other offenses involving the use of firearms.


         I make this affidavit in support of an arrest warrant for MARQUISE CREIGHTON BELL,

 Date of Birth: 07/02/1991, PA SID# 39229951, FBI# 887394MD2, and residing at 3222 W

 Montgomery Avenue, Philadelphia, Pennsylvania (PA). I base the facts set forth in this affidavit

 upon my personal knowledge, information obtained during my participation in this

· investigation, review of documents, knowledge obtained from other individuals including law

 enforcement personnel, and communications with others who have personal knowledge of

 events and circumstances described herein. This affidavit does not set forth each and every fact

 learned by ll)e or other agents during the course of this investigation. Based on my training and

 experience, and the facts set forth in this affidavit, there is probable cause to believe that the

 aforementioned offender has committed the following violation of federal law: possession of

 ammunition by a convicted felon, in violation of Title 18, United States Code, Section 922(g).
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        I am currently investigating over 15 armed robberies of cell phone stores which were

committed between July 2015 and October 2015. I have learned the following facts which are

true and correct to the best of my knowledge, information and belief:


        On or about September 1, 2015 at approximately 7:35 PM, two individuals robbed the

Metro PCS Cell Phone Store, 4229 N Broad Street, Philadelphia, Pennsylvania (PA) at point of

handgun. Two unknown subjects (UNSUBS) entered the business, one brandishing a firearm

(UNSUB-1). The male brandishing the firearm immediately went behind the counter

confronting the employee, grabbed the employee by the neck, aimed the firearm at the victim's

neck, and violently threw him to the ground, while UNSUB-2 detained a lone customer inside

the business. As the employee lay on the ground, UNSUB-1 removed cash from the register.

When the employee attempted to grab the arm of UNSUB-1 in an effort to stop him from taking

the money from the register, UNSUB-1 struck the employee in the top of the head with the

firearm, breaking off a piece of the firearm in the process. Realizing the firearm might be a fake,

the employee stood up and again attempted to stop the robbery. He fought with UNSUB-1, at

which point, UNSUB-1 pushed the employee away and fled the business with the cash. The

robbers took approximately $1000 from the business. The victim and witnesses described

UNSUB-1 as a black male, twenty to twenty-five years of age, approximately 6 feet tall, 160 to

180 lbs, donning a black true religion hat, white t-shirt, blue jeans and dark sneakers. They

described UNSUB-2 as a black male, twenty to twenty-five years of age, 6 feet tall, 160 lbs,

wearing a long sleeve white t-shirt, blue jeans and white sneakers. According to the victim and

witnesses, both UNSUBS had masks covering their faces, but the netting on the masks was light

enough that both witnesses were able to see facial features. The witnesses observed one of the

UNSUBs lose their hat as they fled toward a getaway vehicle. Philadelphia Police recovered the
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hat, which was a black and tan colored hat, with the words "True Religion" inscribed on the

front.


         In February 2016, a Confidential Informant (Cl) provided additional information on the

aforementioned Metro-PCS robberies. The Cl explained that he had planned and committed the

September 1, 2015 robbery of the Metro-PCS store, located at 4229 N Broad Street with

MARQUISE BELL (FBI# 887394MD2). The Cl served as the lookout for this particular robbery.

BELL was supposed to use a real handgun; however, because the Philadelphia Police Narcotics

Unit was, at that time, conducting surveillance on the 1800 block of N 28th Street, BELL was

unable to get to the stash house where he maintained real guns. Instead, BELL brought a BB

gun, which he used during the commission of this robbery. According to the Cl, BELL wore the

TRUE RELIGION hat, which BELL dropped while fleeing the store. BELL's physical features are

consistent with the descriptions provided by the witnesses.


         Additionally, the Cl planned and committed another armed robbery with BELL. They

committed the August 3, 2015 robbery of the Cricket cell phone, located at 1300 E Erie Ave.

During this robbery, BELL wore a bucket style hat. The Cl described the firearm used as a, silver

.38 caliber revolver. Taken during the robbery were two cell phones along with U.S.C The Cl

reviewed surveillance photos from this robbery and identified BELL wearing the bucket hat. The

Cl advised BELL and the others involved in the robberies use multiple cell phones to

communicate with each other.


         The Cl knew BELL resided at his Uncle's house on Montgomery Avenue, near the corner

of 33rd Street. According to the Cl, BELL sells drugs, including illicit pills, on the 1800 block of N

28th Street.
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        On September 20, 2016, a federal search and seizure warrant was approved by the

Honorable Timothy R. Rice, United States Magistrate Judge authorizing law enforcement

officials to obtain the DNA of MARQUISE BELL, date of birth July 2, 1991, currently residing at

3222 W Montgomery Avenue, Philadelphia, PA.


        On September 30, 2016, FBI Agents and Task Force Officers responded to 3222 W

Montgomery Avenue, Philadelphia, PA (the address on the warrant) to execute the search and

seizure warrant. Contact was made with an older black male identified as William Creighton,

DOB July 8, 1951. William Creighton advised he rents the house, but lives there with other

family members, including his nephew MARQUISE BELL. William Creighton advised BELL's

bedroom is the back bedroom on the third floor of the residence.


        Agents responded to the third floor, back bedroom and found an open door with no one

inside of the room. The room smelled of recent cigarette smoke, as if someone was recently

smoking in the room. Agents observed a plastic pill bottle partially filled with blue pills, sitting

on the top of the television set in the room. Agents also observed cell phones sitting in plain

view of the bedroom.


        Additional agents were on the outside perimeter of the residence. From their point of

view, they observed a large flat roof landing area directly under the third floor back bedroom.

This information was relayed to the agents in the room, who looked out onto the roof area.

BELL was observed on the roof area curled up in a ball, in a corner attempting to hide. BELL

appeared to be using his cell phone and was only wearing sweatpants. BELL was wet from the

rain and appeared to be on the roof for a significant amount of time. Directly next to BELL's legs

was a white plastic bag containing objects. The bag had a rip in the side, which a white
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cardboard box marked "Winchester" was sticking out. BELL was brought into the bedroom and

immediately detained.


         Once your affiant observed the box marked "Winchester," he immediately recognized it

as the box in which Winchester ammunition is distributed and/or sold in. Winchester

ammunition is manufactured in Clayton, Missouri. These boxes hold the ammunition in place

until the ammunition is used or placed in a firearm. Based on the observations, the plastic bag

was seized and searched. As a result, the following live ammunition was recovered from the

bag:


         1) 30 - rounds of7.62 rifle ammunition

         2) 2 - handgun rounds marked "TZZ 87"

         3) 25 - rounds of .38 special ammunition

         4) 32 - assorted rounds of shotgun ammunition

                                       CONCLUSION


         A review of BELL's prior criminal history reveales he has multiple felony convictions in

the Commonwealth of Pennsylvania which prohibit him from possessing a firearm and/or

firearm ammunition. BELL has two June 2012 felony convictions in Philadelphia county for

possession of a firearm with the manufacture number altered and firearms not to be carried

without a license and a January 2016 felony conviction for possession with intent to deliver

controlled substances.
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        WHEREFORE, based upon these facts, there is probable cause to believe that on or

about September 30, 2016, MARQUISE BELL was in possession of firearm ammunition, in

violation of Title 18 United States Code subsection 922(g) (possession of firearms or ammunition

by a convicted felon).




                                                      ~t;ft;2
                                                        David E. Carter
                                                        Special Agent
                                                        Federal Bureau of Investigation



Sworn to and subscribed before me
thisJdv-aay of September, 2016.




~O>J~
HONORABLE ELIZABETHT.HEY'
UNITED STATES MAGISTRATE JUDGE
